
90 N.Y.2d 926 (1997)
Alan H. Erdman, Individually and as Contract Assignee of The Estate of David P. Feulner, Deceased, Appellant,
v.
Eagle Insurance Company, Care of Material Adjustment Corporation, Respondent.
Court of Appeals of the State of New York.
Submitted June 30, 1997
Decided September 18, 1997.
Judge LEVINE taking no part.
On the Court's own motion, appeal dismissed, without costs, upon the ground that no appeal lies as of right from the unanimous order of the Appellate Division absent the direct involvement of a substantial constitutional question. Motion for leave to appeal denied, with $100 costs and necessary reproduction disbursements.
